     2:16-cv-10635-GCS-MKM       Doc # 36      Filed 12/01/17   Pg 1 of 5   Pg ID 599



                   UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN

CAROLYN PERLIN, individually and
on behalf of all others similarly situated,        Case No. 16-cv-10635

                    Plaintiff,                     Hon. George Caram Steeh

      v.

TIME INC., a Delaware corporation,

                    Defendant.

                          PLAINTIFF’S WITNESS LIST

      Plaintiff Carolyn Perlin, individually and on behalf of a Class of all others

similarly situated (“Plaintiff”), and pursuant to the Court’s Scheduling Order, (Dkt.

34), hereby submits this list of persons she currently believes she may call as

witnesses at trial. Plaintiff reserves the right to amend or supplement this list.

1.    Plaintiff Carolyn Perlin
      c/o Ari J. Scharg
      EDELSON PC
      350 North LaSalle Street, Suite 1300
      Chicago, Illinois 60654
      Tel: 312.239.3362

2.    Karan Simoneau
      c/o Mark Zwillinger
      ZWILLGEN PLLC
      1900 M St. NW, Ste. 250
      Washington, DC 20036
      Tel: 202.706.5205

3.    Vance Turner
      c/o Mark Zwillinger

                                              1	
      2:16-cv-10635-GCS-MKM     Doc # 36    Filed 12/01/17   Pg 2 of 5   Pg ID 600



       ZWILLGEN PLLC
       1900 M St. NW, Ste. 250
       Washington, DC 20036
       Tel: 202.706.5205

4.     Darcy Sieber
       c/o Mark Zwillinger
       ZWILLGEN PLLC
       1900 M St. NW, Ste. 250
       Washington, DC 20036
       Tel: 202.706.5205

5.     Corporate representative of Time, Inc.
       Acxiom Corp.
       601 E. Third Street
       Little Rock, Arkansas 72201
       Tel: 501.342.7799

6.     Corporate representative of Acxiom Corp.
       601 E. Third Street
       Little Rock, Arkansas 72201
       Tel: 501.342.7799

7.     Corporate representative of Wiland Direct
       6309 Monarch Park Pl.
       Niwot, Colorado 80503
       Tel: 303-485-8686

8.     Corporate representative of Epsilon Data Management
       2550 Crescent Drive
       Lafayette, Colorado 80026
       Tel: 303-542-1600

9.     Corporate representative of iBehavior, Inc.
       2051 Dogwood
       Louisville, Colorado 80027
       Tel: 303-228-5000

10.    Corporate representative of Dataline, Inc.
       5 Vaughn Drive Suite 307

                                           2	
      2:16-cv-10635-GCS-MKM      Doc # 36    Filed 12/01/17   Pg 3 of 5   Pg ID 601



       Princeton, New Jersey 08540
       Tel: 609-452-6014

11.    Corporate representative of InfoGroup, Inc.
       1020 E. 1st Street
       Papillon, Nebraska 68046
       Tel: 402-836-4500

12.    Corporate representative of Experian Marketing Solutions, Inc.
       949 West Bond
       Lincoln, Nebraska 68521
       Tel: 402-475-2014

13.    Corporate representative of Phoenix Data Processing
       One Oak Hill Center
       Suite 301
       Westmont, Illinois 60559
       Tel: 630 654 4400

14.    Corporate representative of Salesforce.com, Inc.
       The Landmark @ One Market
       Suite 300
       San Francisco, California 94105
       Tel: 415-901-7000

15.    Any and all individuals identified through discovery, including through
       documents or other discovery materials produced by Time, Inc., or through
       the Rule 30(b)(6) deposition testimony of Time, Inc.

16.    Any and all individuals listed on Time, Inc.’s witness list

17.    Any expert witnesses disclosed by Plaintiff pursuant to Federal Rule
       26(a)(2), along with any expert witnesses necessary to rebut or refute the
       testimony of experts identified by Time, Inc.

18.    Any and all witnesses necessary to identify, introduce, or authenticate any
       document, record, video recording or other tangible thing or evidence.

19.    Any rebuttal witnesses.



                                            3	
      2:16-cv-10635-GCS-MKM     Doc # 36    Filed 12/01/17   Pg 4 of 5   Pg ID 602



20.    Any surrebuttal witnesses.

       Plaintiff reserves the right to amend or supplement this witness list.

                                       Respectfully submitted,

                                       CAROLYN PERLIN

Dated: December 1, 2017                By: /s/ Benjamin S. Thomassen
                                       One of Plaintiffs’ attorneys

                                       Ari J. Scharg
                                       ascharg@edelson.com
                                       Benjamin S. Thomassen
                                       bthomassen@edelson.com
                                       EDELSON PC
                                       350 North LaSalle Street, Suite 1300
                                       Chicago, Illinois 60654
                                       Tel: 312.589.6370
                                       Fax: 312.589.6378

                                       Henry M. Scharg (P28804)
                                       hmsattyatlaw@aol.com
                                       LAW OFFICE OF HENRY M. SCHARG
                                       718 Ford Building
                                       Detroit, Michigan 48226
                                       Tel: 248.596.1111
                                       Fax: 248.496.1578

                                       Counsel for Plaintiff and the Proposed
                                       Class




                                           4	
    2:16-cv-10635-GCS-MKM      Doc # 36    Filed 12/01/17   Pg 5 of 5   Pg ID 603




                        CERTIFICATE OF SERVICE

       I, Benjamin S. Thomassen, an attorney, certify that on December 1, 2017, I
served the above and foregoing by causing true and accurate copies of such paper
to be filed and transmitted to all counsel of record via the Court’s CM/ECF
electronic filing system.



                                      /s/ Benjamin S. Thomassen




                                          5	
